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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Dorothy Coleman,                        )
                                        )
          Plaintiff,                    )
                                        )
          v.                            )       No.   12 C 2959
                                        )
CIGPF I Corp., a New York corporation, )
Apex Financial Management, LLC, an      )
Illinois limited liability company, and )
Client Services, Inc., a Missouri       )
corporation,                            )
                                        )
          Defendants.                   )       Jury Demanded

                                      COMPLAINT

       Plaintiff, Dorothy Coleman, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt

collection actions violated the FDCPA, and to recover damages for Defendants’

violations of the FDCPA, and alleges:

                             JURISDICTION AND VENUE

       1.    This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.    Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendants reside and transact business here.

                                        PARTIES

       3.    Plaintiff, Dorothy Coleman ("Coleman"), is a citizen of the State of New

York, from whom Defendants attempted to collect a delinquent consumer debt, which

was then allegedly owed to a bad debt buyer, CIGPF I Corp., despite the fact that she
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was represented by the legal aid attorneys at the Chicago Legal Clinic's Legal

Advocates for Seniors and People with Disabilities program ("LASPD"), located in

Chicago, Illinois.

       4.      Defendant, CIGPF I Corp. (“CIGPFI"), is a New York corporation that acts

as a debt collector, as defined by § 1692a of the FDCPA, because it regularly uses the

mails and/or the telephone to collect, or attempt to collect, directly or indirectly,

delinquent consumer debts. CIGPFI operates a nationwide delinquent debt collection

business, and attempts to collect debts from consumers in virtually every state,

including consumers in the State of Illinois. In fact, Defendant CIGPFI was acting as a

debt collector, as that term is defined in the FDCPA, as to the delinquent consumer debt

it attempted to collect from Plaintiff.

       5.      Defendant, Apex Financial Management, LLC (“Apex”), is an Illinois

limited liability company, that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debts. From its offices in Buffalo Grove, Illinois, Apex

operates a nationwide delinquent debt collection business, and attempts to collect debts

from consumers in virtually every state, including consumers in the State of Illinois. In

fact, Defendant Apex was acting as a debt collector, as that term is defined in the

FDCPA, as to the delinquent consumer debt it attempted to collect from Plaintiff.

       6.      Defendant, Client Services (“Client Services”), is a Missouri corporation,

that acts as a debt collector, as defined by § 1692a of the FDCPA, because it regularly

uses the mails and/or the telephone to collect, or attempt to collect, delinquent

consumer debts. Client Services operates a nationwide delinquent debt collection



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business, and attempts to collect debts from consumers in virtually every state,

including consumers in the State of Illinois. In fact, Defendant Client Services was

acting as a debt collector, as that term is defined in the FDCPA, as to the delinquent

consumer debt it attempted to collect from Plaintiff.

       7.     Defendant CIGPFI is a bad debt buyer that acquires portfolios of defaulted

consumer debts, which it then collects upon through other collection agencies, such as

Defendants Apex and Client Services.

       8.     Defendants are all authorized to conduct business in the State of Illinois

and maintain registered agents within the State of Illinois, see, records from the Illinois

Secretary of State, attached as Group Exhibit A. In fact, CIGPFI, Apex and Client

Services each conduct extensive and substantial business in Illinois.

       9.     Defendants Apex and Client Services are each licensed as debt collection

agencies in the State of Illinois, see, records from the Illinois Division of Professional

Regulation, attached as Group Exhibit B. In fact, Defendants Apex and Client Services

act as collection agencies in Illinois.

                                 FACTUAL ALLEGATIONS

       10.    Ms. Coleman is a senior citizen, with limited assets and income, who fell

behind on paying her bills. At some point in time, Defendant CIGPFI bought/obtained

one of Ms. Coleman’s delinquent credit card debts, and when Defendant CIGPFI began

trying to collect the debt from her, by having Defendant Apex send Ms. Coleman a

collection letter during June, 2011, she sought the assistance of legal aid attorneys at

the Chicago Legal Clinic’s LASPD program, regarding her financial difficulties and

Defendants’ collection actions. A copy of this June, 2011 collection letter is attached as



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Exhibit C.

       11.    Accordingly, on June 27, 2011, one of Ms. Coleman's attorneys at LASPD

informed Defendants CIGPFI and Apex that Ms. Coleman was represented by counsel,

and directed Defendants to cease contacting her, and to cease all further collection

activities because Ms. Coleman was forced, by her financial circumstances, to refuse to

pay her unsecured debt. Copies of this letter and fax confirmation are attached as

Exhibit D.

       12.    Either Defendant CIGPFI ignored these notifications, or Defendant Apex

failed to provide this information to CIGPFI. Either way, Defendant CIGPFI then had

Defendant Client Services send Ms. Coleman a collection letter, dated January 5, 2012,

which demanded payment of the debt. A copy of this collection letter is attached as

Exhibit E. If Apex properly notified CIGPFI, then it will be dismissed from this Complaint

and, if not, it should be held liable for the other Defendants’ subsequent actions.

       13.    Accordingly, on January 9, 2012, Ms. Coleman's LASPD attorney again

sent Defendants a letter, directing Defendants to cease communications and to cease

collections. Copies of this letter and fax confirmation are attached as Exhibit F.

       14.    Defendants’ collection actions complained of herein occurred within one

year of the date of this Complaint.

       15.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).




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                                     COUNT I
                     Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And Cease Collections

      16.    Plaintiff adopts and realleges ¶¶ 1-15.

      17.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      18.    Here, the letter from Ms. Coleman's agent/attorney, LASPD, told

Defendants to cease communications and cease collections. By continuing to

communicate regarding this debt and demanding payment, Defendants violated §

1692c(c) of the FDCPA.

      19.    Defendants’ violations of § 1692c(c) of the FDCPA render them liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      20.    Plaintiff adopts and realleges ¶¶ 1-15.

      21.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      22.    Defendants knew, or readily could have known, that Ms. Coleman was

represented by counsel in connection with her debts because her attorneys at LASPD



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had informed Defendants, in writing, that Ms. Coleman was represented by counsel,

and had directed a cessation of communications with Ms. Coleman. By directly sending

a collection letter to Ms. Coleman, despite being advised that she was represented by

counsel, Defendants violated § 1692c(a)(2) of the FDCPA.

      23.    Defendants’ violations of § 1692c(a)(2) of the FDCPA render them liable

for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                      COUNT III
                        Violations Of § 1692f Of The FDCPA --
                  Use of Unfair or Unconscionable Collection Means

      24.    Plaintiff adopts and realleges ¶¶ 1-15.

      25.    Section 1692f of the FDCPA prohibits a debt collector from using any

unfair or unconscionable means to collect or attempt to collect a debt, see, 15 U.S.C. §

1692f(1).

      26.    Defendant Apex’s failure to notify Defendants CIGPFI and Client Services

that the account was subject to a cease collections, cease communications and

attorney representation, or Defendants CIGPFI’s and Client Services’ failure to take

head of that notice, constitutes unfair or unconscionable means to collect a debt, in

violation of § 1692f of the FDCPA.

      27.    Defendants’ violations of § 1692f of the FDCPA render them liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Dorothy Coleman, prays that this Court:



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       1.     Find that Defendants’ debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Coleman, and against Defendants, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Dorothy Coleman, demands trial by jury.

                                                     Dorothy Coleman,

                                                     By: /s/ David J. Philipps___
                                                     One of Plaintiff's Attorneys

Dated: April 20, 2012

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